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                                                                                                   #:3283



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                                                        9
                                                       10                               UNITED STATES DISTRICT COURT
                                                       11               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                801 North Brand Boulevard, Suite 950




                                                       12
                   Glendale, California 91203-1260




                                                       13 CONCERNED JEWISH PARENTS                          CASE NO. 2:22-cv-03243-FMO-PVC
BUSH GOTTLIEB




                                                       14 AND TEACHERS OF LOS                               ORDER GRANTING
                                                          ANGELES, AMY LESERMAN,
                                                       15 LINDSEY KOHN, DANNA                               STIPULATION [149] FOR
                                                                                                            ATTORNEY’S FEES MOTIONS’
                                                       16 ROSENTHAL, AND DANIEL ELI                         BRIEFING AND HEARING
                                                       17                                                   SCHEDULE
                                                                              Plaintiffs,
                                                       18         vs.
                                                            LIBERATED ETHNIC STUDIES
                                                       19   MODEL CURRICULUM
                                                       20   CONSORTIUM; UNITED
                                                            TEACHERS LOS ANGELES;
                                                       21   CECILY MYART-CRUZ, THERESA
                                                       22   MONTANO, AND GUADALUPE
                                                            CARRASCO CARDONA, in their
                                                       23   individual and official capacities as
                                                       24   public employees; AND DOES 1-10,

                                                       25           Defendants,
                                                               and
                                                       26 LOS ANGELES UNIFIED SCHOOL
                                                          DISTRICT,
                                                       27
                                                                    Nominal Defendant.
                                                       28
                                                            1243490v1 11250-32004
                                                                                                         ORDER
                                                       Case 2:22-cv-03243-FMO-E         Document 151 Filed 12/16/24        Page 2 of 2 Page ID
                                                                                               #:3284



                                                        1            On December 13, 2024, Plaintiffs’ counsel, counsel for Defendants United
                                                        2 Teachers Los Angeles and Cecily Myart-Cruz, counsel for Defendants Liberated
                                                        3 Ethnic Studies Model Curriculum Consortium, Theresa Montaño, and Guadalupe
                                                        4 Carrasco Cardona, and counsel for Defendant Los Angeles Unified School District
                                                        5 filed a Stipulation for Attorney’s Fees Motion’s Briefing and Hearing Schedule
                                                        6 requesting an extended briefing and hearing schedule for the two attorney’s fees
                                                        7 motions due December 30, 2024, on the following grounds:
                                                        8            1. Plaintiffs anticipate substantial time will be necessary to prepare their
                                                        9 oppositions to two respective motions for fees and costs encompassing the entire
                                                       10 litigation period, and Defendants likewise anticipate substantial time will be
                                                       11 necessary to prepare their replies;
                801 North Brand Boulevard, Suite 950




                                                       12            2. In order to best permit Plaintiffs to prepare their oppositions and
                   Glendale, California 91203-1260




                                                       13 Defendants to prepare their replies, Parties agree that an extended briefing and
BUSH GOTTLIEB




                                                       14 hearing schedule is warranted; and
                                                       15            3. Plaintiffs’ counsel is unavailable for an April 17, 2025 hearing due to
                                                       16 Passover.
                                                       17            Pursuant to this stipulation and good cause appearing therefor, IT IS
                                                       18 ORDERED that with respect to the two motions for attorney’s fees and costs due
                                                       19 on December 30, 2024, the extended briefing and hearing schedule shall be as
                                                       20 follows:
                                                       21            • Opposition papers filed by February 14, 2025;
                                                       22            • Reply papers filed by March 31, 2025;
                                                       23            • Hearing to be noticed for April 24, 2025.
                                                       24
                                                       25    Dated: December 16, 2024                                     /s/
                                                                                                               Hon. Fernando M. Olguin
                                                       26
                                                                                                               United States District Judge
                                                       27
                                                       28
                                                            1243490v1 11250-32004
                                                                                                         2                CASE NO. 2:22-cv-03243-FMO-PVC
                                                                                                       ORDER
